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  13    Narguizian, The Pep Boys Manny Moe &
  14    Jack of California
  15                          UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
  16
  17    MARTIN VOGEL,                               Case: 2:20-CV-04991-RGK-SK
  18                 Plaintiff,
                                                    JOINT STIPULATION FOR
  19          v.
                                                    DISMISSAL PURSUANT TO
  20    JOHN B. NARGUIZIAN, in                      F.R.CIV.P. 41 (a)(1)(A)(ii)
  21    individual and representative
        capacity as trustee of The Narguizian
  22    Family Trust dated June 28, 2000;
  23    GEORGETTE S. NARGUIZIAN, in
        individual and representative
  24    capacity as trustee of The Narguizian
  25    Family Trust dated June 28, 2000;
        THE PEP BOYS MANNY MOE &
  26    JACK OF CALIFORNIA, a California
  27
        Corporation; and does 1-10,

  28               Defendants.


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       Joint Stipulation for Dismissal                   Case: 2:20-CV-04991-RGK-SK
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   1          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
   2   between the parties hereto that this action may be dismissed with prejudice
   3   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.
   4   This stipulation is made as the matter has been resolved to the satisfaction of
   5   all parties.
   6
   7   Dated: December 18, 2020          CENTER FOR DISABILITY ACCESS
   8
                                         By:   /s/Amanda Seabock
   9                                           Amanda Seabock
  10                                           Attorney for Plaintiff

  11
  12   Dated: December 18, 2020          COX, CASTLE & NICHOLSON LLP
  13
  14                                     By:   /s/Robert D. Infelise
                                               Robert D. Infelise
  15                                           Attorney for Defendants
  16                                           John B. Narguizian, Georgette S.
                                               Narguizian, The Pep Boys Manny Moe
  17                                           & Jack of California
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       Joint Stipulation for Dismissal                   Case: 2:20-CV-04991-RGK-SK
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   1                        SIGNATURE CERTIFICATION
   2
   3          I hereby certify that the content of this document is acceptable to
   4   Robert D. Infelise , counsel for John B. Narguizian, Georgette S. Narguizian,
   5   The Pep Boys Manny Moe & Jack of California, and that I have obtained
   6   authorization to affix his electronic signature to this document.
   7
   8   Dated: December 18, 2020          CENTER FOR DISABILITY ACCESS
   9
                                         By:   /s/Amanda Seabock
  10                                           Amanda Seabock
  11                                           Attorney for Plaintiff

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       Joint Stipulation for Dismissal                  Case: 2:20-CV-04991-RGK-SK
